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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 CHRISTINE R. JOHNSON, individually,         )
 and on behalf of all others similarly       )
 situated,                                   )
                                             )
                   Plaintiff,                )   Case No. 1:21-cv-04117
                                             )
 v.                                          )
                                             )
 HARLEY-DAVIDSON FINANCIAL                   )
 SERVICES, INC.,

                 Defendant.


      DEFENDANT HARLEY-DAVIDSON FINANCIAL SERVICES, INC.’S CONSENT
         MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT


        Defendant Harley-Davidson Financial Services, Inc. (“HDFS”), by and through its

undersigned counsel, hereby applies for entry of an Order extending the time for HDFS to answer

or otherwise move in response to the Complaint filed by Plaintiff in the above captioned matter,

as follows:

        1.     Plaintiff filed her Complaint on August 3, 2021. ECF No. 1.

        2.     On August 10, 2021, HDFS executed a Waiver of Service, and its response to the

Complaint is due October 11, 2011. ECF No. 7.

        3.     HDFS seeks additional time to investigate the matter and explore resolution with

Plaintiff.

        4.     On October 4, 2021, counsel for HDFS conferred with counsel for Plaintiff, and

Plaintiff consents to this extension.
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       5.      HDFS requests that the time in which it may answer, move or otherwise respond to

Plaintiff’s Complaint be extended by fourteen (14) days, up to and including October 25, 2021.

       6.      This Motion is not being presented to cause unnecessary delay, or for any other

improper purpose. To the contrary, the requested extension should not delay the progression of

this case in any material respect.

       7.      This is HDFS first request for an extension of time. The requested extension does

not prejudice the parties.

        WHEREFORE, Harley-Davidson Financial Services, Inc. respectfully requests that this

Honorable Court grant its Consented Motion for Extension of Time to Respond to Plaintiff’s

Complaint, and enter an order allowing HDFS up to and including October 25, 2021, to respond

to the Complaint.


Dated: October 5, 2021                             Respectfully submitted,

                                                   By:     /s/ Benjamin J. Sitter
                                                           Benjamin J. Sitter
                                                           Blaec C. Croft
                                                           McGuireWoods LLP
                                                           Tower Two-Sixty
                                                           260 Forbes Avenue, Suite 1800
                                                           Pittsburgh, PA 15222
                                                           Telephone: 412-667-7904
                                                           bsitter@mcguirewoods.com
                                                           bcroft@mcguirewoods.com

                                                           Attorneys for Defendant
                                                           Harley-Davidson Financial Services,
                                                           Inc.




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                                  CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was electronically filed on this day,

October 5, 2021, with the Clerk of the Court using the CM/ECF system which will send notice of

service to all attorneys of record.




                                              /s/ Benjamin J. Sitter
                                              Benjamin J. Sitter




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